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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     MARTINSBURG


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                            CRIMINAL ACTION NO.: 3:13-CR-25-1
                                               (GROH)

 DANIEL ROBERT MYERS, JR.,

        Defendant.


      ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE
         PURSUANT TO 18 U.S.C. § 3582(c)(2) AND USSG AMENDMENT 782

        Pending before this Court is the Defendant’s Motion for Reduction of Sentence

 Pursuant to 18 U.S.C. § 3582(c)(2) and USSG Amendment 782, [ECF 89], in which the

 Defendant seeks a reduction of his sentence under Amendment 782 to § 2D1.1 of the

 United States Sentencing Guidelines.

        18 U.S.C. § 3582(c)(2) provides that a “court may not modify a term of imprisonment

 once it has been imposed except that . . . in the case of a defendant who has been

 sentenced to a term of imprisonment based upon a sentencing range that has

 subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o),

 upon motion of the defendant or the Director of the Bureau of Prisons, or on its own motion,

 the court may reduce the term of imprisonment, after considering the factors set forth in

 section 3553(a) to the extent they are applicable, if such a reduction is consistent with the

 applicable policy statements issued by the Sentencing Commission.”



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        In considering reductions under § 3582(c)(2), neither the appointment of counsel nor

 a hearing is required. See United States v. Dunphy, 551 F.3d 247 (4th Cir.), cert. denied,

 129 S. Ct. 2401 (2009); Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s presence is

 not required in a proceeding involving the reduction of sentence under 18 U.S.C. §

 3582(c)).

        “In determining the amended guideline range, this court will only make changes to

 the corresponding guideline provision, which is affected by Amendment [782], and all other

 guideline decisions will remain unaffected.” United States v. Gilliam, 513 F. Supp. 2d 594,

 597 (W.D. Va. 2007) (citing USSG § 1B1.10); see also Dillon v. United States, 560 U.S.

 817, 826 (2010) (“Section 3582(c)(2)’s text, together with its narrow scope, shows that

 Congress intended to authorize only a limited adjustment to an otherwise final sentence

 and not a plenary resentencing proceeding.”).

        In this case, despite the fact that the appointment of counsel is not required, the

 defendant's interests are represented by the Federal Public Defender, who reviewed this

 case on defendant's behalf. In addition, at this Court's request, the United States Probation

 Office has reviewed the defendant's eligibility for a sentence reduction under 18 U.S.C. §

 3582(c)(2) and has calculated the defendant's amended guideline range.

        In this case, the original sentencing judge found a base offense level of 12, plus 2

 levels for a firearm, for a total offense level of 14. With a criminal history category of VI, the

 guidelines provided a sentencing range of 37 to 46 months. The Defendant was sentenced

 to 46 months. Under the Amendment 782 Guideline Calculations, the Defendant’s base

 offense level did not change, because the minimum base offense level of 12 must be

 retained in this case.

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       Accordingly, the Court DENIES the Defendant’s Motion for Reduction of Sentence

 Pursuant to 18 U.S.C. § 3582(c)(2) and USSG Amendment 782.

       The Clerk is hereby directed to transmit copies of this Order to all counsel of record

 herein and the USPO and to mail a copy to the Defendant.

       DATED: March 30, 2015




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